      Case 2:22-cv-00160-TOR        ECF No. 39   filed 11/08/22   PageID.21 Page 1 of 12




 1
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12
                         UNITED STATES DISTRICT COURT
13                      EASTERN DISTRICT OF WASHINGTON
14   KASSIDY WOODS,
                                                     No. 2:22-CV-00160-TOR
15                             Plaintiff,
16         v.                                        JOINT STATUS REPORT AND
17                                                   DISCOVERY PLAN
     NICHOLAS ROLOVICH, in his
18
     individual capacity, and WASHINGTON
19   STATE UNIVERSITY,
20
                            Defendants.
21

22

23
           Plaintiff Kassidy Woods and Defendants Nichols Rolovich and Washington
24

25   State University (the “Parties”), through their counsel, submit this Joint Status

26   Report and Discovery Plan, pursuant to the Court’s Notice Settling Telephone
     JOINT STATUS REPORT AND                               STRITMATTER KESSLER KOEHLER MOORE
     DISCOVERY PLAN                                                3600 15th Street, Ste. 300
      (No. 2:22-CV-00160-TOR) – 1                                    Seattle, WA 98819
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 1   Scheduling Conference, dated October 3, 2022. And pursuant to Fed. R. Civ. P.
 2
     26(f).
 3

 4
              1.    INTRODUCTION
 5
     Plaintiff
 6

 7

 8
              Mr. Woods, then a contract student athlete at Defendant WSU asserts causes
 9
     of action for violations of his freedom of association rights as secured by the First
10

11   Amendment, violations of his Equal Protection rights under the Fourteenth
12
     Amendment, breach of contract, and violations of Title VI of the Civil Rights Act of
13
     1964, §2000d et seq, prohibition against exclusion from participation in, denial of
14

15   benefits of, and discrimination under federally assisted programs on the ground of
16
     race, color, or national origin..
17

18
              At the height of the COVID-19 pandemic, Defendants misled and enticed Mr.

19   Woods to participate in the team’s summer workouts, by ensuring that safety
20
     protocols were in place. Mr. Woods, carries the sickle cell trait which was an at risk
21

22   condition. But such protocols were not in place and dozens of student-athletes were

23   testing positive for COVID-19.
24

25

26

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 1           At the same several high-profile cases of police maltreatment and brutality
 2
     against Black people in America were raising the consciousness of the country to
 3

 4   the BLM movement. Within the Pac-12, of which Defendant WSU is a member, a

 5   coalition called “WeAreUnited” formed to bring light to the social and racial
 6
     injustices faced by Black student-athletes. The group reportedly threatened to
 7

 8   boycott the football season if certain demands were not met.
 9

10
                   When Mr. Woods told his coach about his concerns about COVID
11

12   given his risk factors and made the decision to opt out of the 2020 season, Defendant
13   Rolovich, asked Mr. Woods if he was a member of the #WeAreUnited group. Mr.
14
     Woods said yes. Defendant Rolovich then stated that opting out because of “the
15

16   COVID stuff is one thing,” but that joining the #WeAreUnited group would change
17   “how things go in the future for everybody, at least at our school.”
18

19

20           Mr. Woods was then retaliated against. Mr. Woods asserts causes of action
21
     for violations of his freedom of association rights as secured by the First
22
     Amendment, violations of his Equal Protection rights under the Fourteenth
23

24   Amendment, breach of contract, and violations of Title VI of the Civil Rights Act of
25
     1964.
26

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 1

 2
     Defendants
 3

 4         Defendants defends on the basis of the Eleventh Amendment, Qualified

 5   Immunity, failure to state a claim and set off. With regard to the narrative presented
 6
     by Woods, the Defendants submit that, following discovery, the facts will reveal that
 7

 8   no factual basis exists to support the causes of action Woods has brought.
 9   Specifically, the Defendants deny that Wood’s First Amendment or Equal Protection
10
     rights were violated. Further, the Defendants deny that the actions of WSU and/or
11

12   Mr. Rolovich breached any alleged contract or violated Title VI of the Civil Rights
13   Act of 1964, §2000d et seq.
14

15          2.     SUMMARY OF RULE 26(F) CONFERENCE
16
           Pursuant to the Court’s Notice Setting Telephonic Scheduling Conference, the
17

18
     Parties held a Rule 26(f) conference on October 31, 2022. The Parties provide the

19   following summary of the proposals and agreements reached therein:
20

21   A.    Jurisdiction, Venue, Standing
22
           The Parties agree that jurisdiction and venue are properly before this Court
23
     and that standing for the claims asserted in this matter is likewise proper.
24

25

26

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 1   B.       Service of Process on Parties not Served yet
 2

 3            The Parties agree that all parties to this action have been served and further
 4
     agree that the deadline for joining additional parties should be set as ordered by the
 5
     court.
 6

 7
     C.       Claims and Defenses
 8
 9            Plaintiff brings his claims pursuant to 42 U.S.C. § 1983 and seeks damages to
10   remedy violations of rights secured by First Amendment to the United States
11
     Constitution, the Fourteenth Amendment to the United States Constitution, and Title
12

13   VI of the Civil Rights act of 1964.
14            Defendants deny all claims.     Defendant affirmatively asserts, among other
15
     defenses: Failure to State a Claim, that the Plaintiff has failed to state a claim upon
16

17   which relief may be granted to the extent the Plaintiff brings and 42 U.S.C § 1983
18   claim against WSU, an agency of the State of Washington. Setoff, the Defendants
19
     are entitled to an offset from any awards to Plaintiff herein and/or recovery of back
20

21   monies paid to Plaintiff. Eleventh Amendment Immunity, that the Defendant State
22
     of Washington, its agencies and agents sued in their official capacity, are not subject
23
     to civil suit for damages under the Eleventh Amendment of the Constitution of the
24

25   Untied States. Qualified Immunity, that the claims alleged under 42 U.S.C § 1983
26
     against state employees are barred by the doctrine of qualified immunity.
     JOINT STATUS REPORT AND                                 STRITMATTER KESSLER KOEHLER MOORE
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 1

 2

 3   D.    Statute Constitutionality

 4
           N/A
 5
     E.    Issues to Be Certified to the Washington State Supreme Court
 6

 7         The Parties are not presently aware of any issue that may be certified to the
 8
     Washington State Supreme Court, but reserve the right to ask the Court to do so.
 9

10   F.    Additional Parties, Amending Pleadings
11
           At present, the Parties do not anticipate joining additional parties.
12

13         The Parties agree that the deadline for amending pleadings should be
14         120-days from today.
15

16   G.    Corporate Parties
17
           This case does not involve corporate parties.
18

19   H.    Beneficial Interests
20
           This case does not involve a beneficial interest claim of a minor or
21

22   incompetent that requires appointment of a Guardian ad litem.
23

24

25

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 1   I.       Discovery Plan
 2

 3            1.     Initial Disclosures
 4
              The Parties agree to exchange expert disclosures as follows:
 5
                         • Plaintiff’s disclosure as ordered by the court.
 6

 7                       • Defendants’ disclosures as ordered by the court.
 8
                         • Rebuttal disclosures as ordered by the court.
 9

10
              2.     Subjects, Timing, and Potential Phasing of Discovery
11
                    a.      Discovery Subjects
12

13            The subjects of discovery will include the claims and defenses asserted, as
14
     well as alleged damages. Defendants anticipates seeking discovery information
15
     regarding the claims and defenses.          Plaintiff anticipates seeking discovery of
16

17   information regarding the claims and defenses, including but not limited to emails,
18
     and other written memorandum.
19
                    b.      Discovery Management/Electronically Stored Information
20

21            The Parties intend to efficiently manage the discovery process within the
22
     limitations set forth in the Federal Rules of Civil Procedure and Local Rules. They
23

24
     do not anticipate any issues regarding disclosure or discovery of electronically stored

25   information.
26
                    c.      Discovery Completion
     JOINT STATUS REPORT AND                                 STRITMATTER KESSLER KOEHLER MOORE
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 1            The Parties anticipate that non-expert discovery can be completed by
 2
     November 1, 2023.
 3

 4            The Parties anticipate that expert discovery can be completed by November

 5   1, 2023.
 6

 7            3.     Privilege Issues
 8
              The anticipated discovery may result in claims of privilege and/or other
 9
     protections from discovery. The Parties will attempt to resolve any privilege issues
10

11   among themselves before seeking Court intervention.
12

13            4.     Discovery Limitations
14            The Parties agree that the presumptive limits on discovery under the Federal
15
     Rules of Civil Procedure and Local Civil Rules should not be altered at this time.
16

17   The Parties nonetheless reserve the right to later seek relief from those limitations.
18

19
              5.     Discovery Orders

20            The Parties do not anticipate the need for additional discovery-related orders
21
     at this time. The Parties nonetheless reserve the right to later seek additional orders
22

23   related to discovery.

24
     J.       Anticipated Motions
25

26            Defendants intend to bring MSJ
     JOINT STATUS REPORT AND                                STRITMATTER KESSLER KOEHLER MOORE
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 1   K.      Trial
 2

 3           1.      A jury demand was filed with the complaint.
 4

 5           2.      Trial Date and Location

 6           This case will be ready for trial on or after April 2024.
 7
             Location of trial U.S. District Court in Spokane, WA.
 8
 9
             3.      Length of Trial
10
             The Parties anticipate that trial in this matter will take approximately 15 trial
11

12   days.
13

14           4.      Bifurcation
15           The parties do not anticipate bifurcation at this time but reserve the right to
16
     request bifurcation if appropriate.
17

18
             5.      Special Audio/Visual Courtroom Technology
19

20
             Parties may bring screens and projectors to help prosecute his case if the court

21           does not supply them.
22

23

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 1   L.    Prospects for Settlement
 2
           The Parties agree to engage in alternative dispute resolution on or before
 3

 4   February 1, 2024 if appropriate based on the facts of the case.

 5
     M.    Other Matters
 6

 7         At this time, there are no other matters for the Court to address.
 8
 9

10   Dated: November 8, 2022
11

12   STRITMATTER KESSLER KOEHLER MOORE
13
     /s Karen Koehler
14   Karen Koehler, WSBA #15325
15   Counsel for Plaintiff
16

17   TOWNS LAW FIRM, P.C.

18   /s Cody L. Towns
     Cody L. Towns, pro hac vice
19   Texas Bar No. 24034713
     Counsel for Plaintiff
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 3   /s Garth Ahearn
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 4   Garth A. Ahearn, WSBA #29840
     Assistant Attorneys General
 5
     Counsel for Defendants
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 1                            CERTIFICATE OF SERVICE
 2         I certify under penalty of perjury that on November 8, 2022, I caused to be
 3   electronically filed the foregoing document with the Clerk of the Court using the
 4   CM/ECF system, which will send a notification of the filing to the email addresses
 5   indicated on the Court’s Electronic Mail Notice List.
 6         Dated: November 8, 2022
 7                                         s/ Rory Larson
 8                                         Rory Larson, Paralegal
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     CERTIFICATE OF SERVICE                              STRITMATTER KESSLER KOEHLER MOORE
     (No. 2:22-CV-00160-TOR)                                     3600 15th Street, Ste. 300
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